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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM

Honorable Anthony W. Ishii                      RE: Sukhraj Dhaliwal
Senior United States District Judge                 Docket Number: 0972 1:08CR00212-003
Fresno, California                                  PERMISSION TO TRAVEL
                                                    OUTSIDE THE COUNTRY

Your Honor:


Sukhraj Dhaliwal is requesting permission to travel to Punjab, India. Sukhraj Dhaliwal is current
with all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On March 22, 2010, Sukhraj Dhaliwal was sentenced for the
offenses of 21 USC 841(a)(1), 841(b)(1)(A), and 846, Conspiracy to Distribute and to Possess
With Intent to Distribute Cocaine; and 21 USC 841(a)(1), 841(b)(1)(A), and 846, Attempted
Possession With Intent to Distribute Cocaine.


Sentence Imposed: 120 months Bureau of Prisons; 60 months Term of Supervised Release; No
Firearms; DNA Collection; and $200 Special Assessment (Paid).


Dates and Mode of Travel: The defendant requests to travel from December 15, 2018, through
January 27, 2019.


Purpose: The defendant advised his father is very ill and would like to be by his side.




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Sukhraj Dhaliwal
         Docket Number: 0972 1:08CR00212-003
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                   Respectfully submitted,




                                        Adrian Garcia
                                United States Probation Officer

Dated:     December 11, 2018
           Fresno, California



REVIEWED BY:                Tim D. Mechem
                           Tim D. Mechem
                           Supervising United States Probation Officer



                                ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved



IT IS SO ORDERED.

Dated: December 12, 2018
                                          SENIOR DISTRICT JUDGE




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
